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 1                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 2                                      AT SEATTLE
 3
   UNITED STATES OF AMERICA, )
 4                               )
                Plaintiff,       )                CASE NO.       CR06-319JLR
 5                               )
           v.                    )
 6                               )
   KIM ANH T. HOANG,             )                DETENTION ORDER
 7                               )
                Defendant.       )
 8                               )
   _____________________________ )
 9
     Offense charged:
10
               Count II:     Conspiracy to Engage in Money Laundering, in violation of Title 18,
11
                             U.S.C., Section 1956(h).
12
     Date of Detention Hearings: September 28, 2006 and September 29, 2006.
13
               The Court, having conducted a contested detention hearing pursuant to Title 18
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     U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for detention
15
     hereafter set forth, finds that no condition or combination of conditions which the defendant
16
     can meet will reasonably assure the appearance of the defendant as required and the safety
17
     of any other person and the community. The Government was represented by Ye-Ting Woo.
18
     The defendant was represented by Stewart Riley.
19
               The Government moves for detention, asserting that the defendant poses a serious
20
     risk of flight given her access to drug proceeds. She has a close relationship to co-
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     defendant and conspiracy leader Quoc Le. The Government cites a number of recorded
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     conversations with co-defendant Quoc Le regarding drug proceeds and the holding of those
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     proceeds. According to the Government’s record, this defendant reports no legitimate source
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     of income, yet her assets and possession of cash far exceed Quoc Le’s reported income, upon
25
     whom she appears to be financially dependent. This is corroborated by the seizure of
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 1 $30,000 dollars U.S. currency found in their shared residence. The Government contends
 2 that the defendant has recently traveled to Vietnam twice, which heightens concern of flight.
 3 Her brother, another co-defendant, Toan Chua Hoang, has already fled to Vietnam after
 4 learning of    another Vietnamese drug distribution investigation by the DEA.             The
 5 Government urged that his flight appears to have been for the purpose avoiding prosecution.
 6           The defendant agues for release, contending that the she is a U.S. Citizen with no
 7 criminal record and strong ties to this district, referencing her 7-year-old daughter. The
 8 defendant counters that she is employed at a hair salon, and her residence was purchased
 9 with a zero-down option, suggesting that illegitimate funds were not used for its purchase.
10 Additionally, the defendant proffers that she traveled to Vietnam twice because of a family
11 medical emergency.
12       FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
13            (1) The instant offense involves the laundering of large sums of cash obtained
14                as drug proceeds from a conspiracy drug distribution of marijuana
15                originating in Canada and smuggled to Washington for transport to other
16                states. The investigation of locations of other large sums of cash is
17                ongoing, with multiple requests for search warrants of other properties.
18            (2) Given the defendant’s close personal relationship to the leader of this
19                distribution organization, the Court has grave concerns that she has access
20                to these drug proceeds from the multi-state drug distribution network,
21                some of whose members are as yet unknown. Her brother having already
22                fled only underscores the Court’s concerns. The defendant’s recent travel
23                to Vietnam for family matters shows her continued strong overseas ties.
24            (3) The defendant’s part-time employment income is inconsistent with the
25                amount of known assets and funds belonging to the defendant, heightening
26                the Court’s concern of continued financial reliance on proceeds from

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 1                illegal activity.
 2           (4) Due to the nature and seriousness of the crime alleged, release of the
 3                 defendant would pose a risk to the community.
 4 Thus, there is no condition or combination of conditions that would reasonably assure
 5 future court appearances.
 6           It is therefore ORDERED:
 7           (l) Defendant shall be detained pending trial and committed to the custody of
 8                the Attorney General for confinement in a correctional facility separate, to
 9                the extent practicable, from persons awaiting or serving sentences, or being
10                held in custody pending appeal;
11           (2) Defendant shall be afforded reasonable opportunity for private
12                consultation with counsel;
13           (3) On order of a court of the United States or on request of an attorney for the
14                Government, the person in charge of the correctional facility in which
15                Defendant is confined shall deliver the defendant to a United States
16                Marshal for the purpose of an appearance in connection with a court
17                proceeding; and
18           (4) The clerk shall direct copies of this order to counsel for the United States,
19                to counsel for the defendant, to the United States Marshal, and to the
20                United States Pretrial Services Officer.
21           DATED this 4th day of October, 2006.
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24
25
                                                A
                                                Monica J. Benton
                                                U.S. Magistrate Judge
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